                           UNITED STATES DISTRICT COURT
                         FOR EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

SHEILA DIANE SPECK and husband,   )
ERIC SPECK,                       )
                                  )
      Plaintiffs,                 )
                                  )
v.                                )                  Docket No. 3:21-cv-00406
                                  )                  JURY DEMANDED
THE UNITED STATES POSTAL          )
SERVICE, and THE UNITED STATES    )
of AMERICA, d/b/a THE UNITED      )
STATES POSTAL SERVICE, and        )
JERALYN HENDRICKSON, individually )
                                  )
      Defendants.                 )

                                COMPLAINT FOR DAMAGES

       Come now SHEILA DIANE SPECK and husband, ERIC SPECK, by and through her

attorneys, and for their cause of action against the Defendants would show the Court as follows:

                               I. PARTIES AND JURISDICTION

       1.      The Plaintiff, SHEILA DIANE SPECK (“Ms. Speck”), and husband, Plaintiff,

ERIC SPECK (“Mr. Speck”), are citizens and residents of 122 Center Road, Madisonville,

Monroe County, Tennessee 37354. At all times relevant and material herein, the Plaintiffs were

and are husband and wife.

       2.      The Defendants, THE UNITED STATES GOVERNMENT and THE UNITED

STATES POSTAL SERVICE, are governmental entities subject to the Federal Tort Claims Act

and subject to the jurisdiction of this Court (28 U.S.C. §1346(b)).

       3.      The Defendant, JERALYN KAYLA HENDRICKSON, (“Ms. Hendrickson”) is a

citizen and resident of 216 Allen Court, Maryville, Tennessee 37804. At all times relevant

herein, Ms. Hendrickson was operating a 2015 Volkswagen Golf and was an employee of the



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United States Postal Service operating within the scope and duties of her employment.

        4.       At all times herein, Ms. Hendrickson, was the operator of the 2015 Volkswagen

Golf that collided with Ms. Speck and was the cause to Ms. Speck’s injuries.

        5.       The incident herein involved did occur in Blount County, Tennessee.

        6.       This Honorable Court has subject matter jurisdiction over this matter pursuant to

28 U.S.C. § 1346(b).

                                           II.    FACTS

        7.       The Plaintiffs re-allege and incorporate by reference each of the paragraphs above

as if set forth in full.

        8.       This claim arises from injuries and damages sustained by Plaintiff as a result of a

motor vehicle collision that took place on or about December 2, 2019, on West Broadway

Avenue, Maryville, Tennessee. This collision was caused by the actions of Ms. Hendrickson. At

all times immediately prior to, and during the collision, Ms. Hendrickson was an employee of the

United States Postal Service, and was acting within the course and scope of her employment with

the Postal Service.

        9.       On or about December 2, 2019, the Plaintiff, Ms. Speck, was operating her 2020

Jeep Wrangler in an easterly direction on West Broadway Avenue, Maryville, Tennessee.

        10.      Ms. Hendrickson, was operating a 2015 Volkswagen Golf in a westerly direction

on West Broadway Avenue. Ms. Hendrickson, attempted to make a left turn onto Sandy Springs

Road, crossed into Ms. Speck’s lane of travel and collided with Ms. Speck’s car.

        11.      As the proximate and direct result of this collision caused by Ms. Hendrickson,

Ms. Speck suffered serious and permanent bodily injuries, as well as property damage to her

vehicle.




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        12.      The Plaintiff’s filed their administrative claim on or after December 1, 2020,

which was timely pursuant to 28 U.S.C. § 2401(b). As of the date of the filing of this Complaint,

the applicable agency’s rejection period has expired on of after October 7, 2021. Wherefore,

Plaintiff brings this Complaint within six (6) months or October 7, 2021 under the Federal Tort

Claims Act.

                                  III.    CAUSES OF ACTION

        13.      The Plaintiffs re-allege and incorporate by reference each of the paragraphs above

as if set forth in full.

        14.      Acts of negligence, under the common law, committed by Ms. Hendrickson and

imputed to Defendants, The United States Postal Service and The United States of America,

include, but not limited to the following: (a) failure to keep a proper lookout ahead; (b) failure to

deviate, change or alter her course of travel when she knew or should have known by the

exercise of due care that a collision was imminent; (c) failure to operate the vehicle in a safe and

proper manner considering the circumstances then existing at the time; (d) failure to use due and

reasonable care in the driving of the vehicle, so as to avoid injury to other persons using the

roadway; (e) failing to yield right-of-way and therefore traveling into Ms. Speck’s lane of travel;

(f) failure to drive the vehicle in a safe and proper manner; (g) operating the vehicle in a reckless

and careless manner; and (h) failure to use due and reasonable care in the driving of the vehicle,

so as to avoid injury to other persons.

        15.      The common law acts of negligence by Ms. Hendrickson were the direct and

proximate cause of the collision and resulting injuries sustained by Ms. Speck.

        16.      Acts of negligence, under the Tennessee Code Annotated, which were in full

force and effect at the time of the collision, committed by Ms. Hendrickson and imputed to




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Defendants, The United States Postal Service and The United States of America, include, but not

limited to the following: The statutes are as follows: (a) T.C.A. § 55-8-136(6) – Drivers to

exercise due care; (b) T.C.A. § 55-10-205, Reckless driving; (c) T.C.A. §55-8-129 – Vehicle

turning left at intersection; and (d) T.C.A. § 55-8-109 – Obedience to traffic control device.

        17.    The violation of these statues by Ms. Hendrickson was negligence per se which

proximately caused the collision and resulting injuries sustained by Ms. Speck.

        18.    Ms. Hendrickson failed to conform the operation of her vehicle to the duties

imposed by the statues. The violation of these statues by Ms. Hendrickson was negligence per se

which directly and proximately caused the collision.

        19.    Because of the collision caused by Ms. Hendrickson, Ms. Speck received serious

and permanent personal injuries, as well as property damage to her vehicle.

        20.    Ms. Hendrickson was at the time of the aforesaid collision operating the 2015

Volkswagen Golf that collided into Ms. Speck’s vehicle causing her permanent and serious

injuries.

        21.    As a direct and proximate result of the collision caused by the negligence and/or

negligence per se of Ms. Hendrickson, Ms. Speck has received serious personal injuries, some or

all of which are permanent, including: (a) abdominal trauma; (b) chest trauma; (d) chest wall

contusion; (e) right breast pain; (f) right rib pain; (g) shortness of breath; (h)

pneumomediastinum; (i) elbow trauma; (j) physical pain and mental anguish, past and future; (k)

impaired ability to enjoy the normal pleasure of life; (l) lost wages; (m) necessary and reasonable

medical expenses; and (n) future medical expenses will be required. Those injuries resulted in

medical treatment and care and Ms. Speck has incurred significant medical expenses for the

treatment of her injuries.




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       22.     As a result of these injuries, medical expenses have been incurred for treatment

and will continue to be incurred in the future. Ms. Speck has suffered physical pain and will

continue to suffer such pain in the future. Further, Ms. Speck has suffered a loss of enjoyment of

life and will continue to suffer same in the future, as well as a loss of income and will continue to

suffer the same in the future.

       23.     Additionally, Ms. Speck has suffered permanent injury, physical pain and mental

suffering, loss of income, and loss of her enjoyment of life and will continue to suffer from these

injuries in the future. Ms. Speck is continuing to be treated for these injuries.

       24.     As a result of this collision, Ms. Speck’s vehicle was damaged.

       25.     As a direct and proximate result of the negligence and carelessness of the

Defendants, Mr. Speck was required to miss work and care for his wife and has been and will be

deprived of his wife’s services, comfort, society and attention, and has or will incur the

reasonable value or expenses of hospitalization and medical care and treatment necessarily or

reasonably obtained by his wife in the past or to be so obtained in the future.

       26.     Ms. Hendrickson operated her 2015 Volkswagen Golf at all relevant times prior

to, and during, the collision as an employee of the United States Postal Service and within the

course and scope of her employment and her authority as an agent and employee of the United

States Postal Service and the United States of America, who are responsible for the acts of Ms.

Hendrickson under theories of agency, respondeat superior, and vicarious responsibility.

       27.     Additionally, and/or in the alternative, Ms. Hendrickson operated the 2015

Volkswagen Golf prior to and at the time of the collision for her private purpose.

                                    IV. PRAYERS FOR RELIEF

       WHEREFORE, premises considered, the Plaintiff, SHEILA SPECK, and husband, ERIC




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SPECK demand judgment against the Defendants as follows:

       1.      That process issue and be served upon the Defendants and that the Defendants be

required to appear and answer this Complaint within the time required by law; and,

       2.      That the Plaintiff, SHEILA SPECK, be awarded damages in the amount of

$300,000.00; and,

       3.      That the Plaintiff, ERIC SPECK, be awarded damages in the amount of

$50,000.00; and,

       4.      That the Plaintiff’s retain the right to amend the Complaint in this civil action as

further discovery and the trial may necessitate; and

       5.      That a jury be empaneled to try all issues in this cause; and,

       6.      That the costs of this cause be taxed to the Defendant, including any discretionary

costs; and

       7.      For general relief.

        Respectfully submitted.

                                              WORTHINGTON & WEISS, P.C.

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